                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

EDDIE LAREECE PITMMAN,         )
                               )
                 Plaintiff,    )
                               )
v.                             )                     Case No. 2:20-CV-04210-MDH
                               )
THE CURATORS OF THE UNIVERSITY )
OF MISSOURI, et al.,           )
                               )
                 Defendant.    )

                                            ORDER

        Before the Court is the Court’s July 26, 2021, Show Cause Order. (Doc. 36). The Court

ordered Plaintiff to show cause as to why named Defendant Renee Jiji had not been served. The

Complaint (Doc. 8) was filed on December 1, 2020. Jiji has not been served as of the date of this

Order. Fed. R. Civ. P. 4(m) provides that if “a defendant is not served within 90 days after the

complaint is filed, the court…must dismiss the action without prejudice against that defendant…”.

Accordingly, Plaintiff was required to serve Jiji on or before March 1, 2021. The Court denied

Plaintiff’s motion for default judgment against Jiji on April 27, 2021. (Doc. 24). After the April

27, 2021, Order, Plaintiff apparently made no further attempt to serve Jiji. Indeed, Plaintiff’s

response to the Court’s Show Cause Order indicated that he had abandoned his intent to join Jiji

to the action.

        While Plaintiff now asks the Court to grant him “another minute” to attempt to serve Jiji,

any service would be extremely untimely and in significant violation of the deadline imposed by

Rule 4(m). Accordingly, all claims against Defendant Jiji are dismissed without prejudice. Because

no party remains, the action is hereby DISMISSED in its entirety.




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IT IS SO ORDERED.

Dated: August 9, 2021                           /s/ Douglas Harpool______
                                               DOUGLAS HARPOOL
                                               United States District Judge




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